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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 1:22-______________


 FRANCESCO LEFEBVRE D’OVIDIO,

                        Plaintiff,

 v.

 ROYAL CARIBBEAN CRUISES, LTD.,

                        Defendant.
 _____________________________________________


                           DEFENDANT’S NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant Royal Caribbean Cruises, Ltd.,

 (“Defendant”) hereby files this Notice of Removal of this action, with full reservation of all

 defenses, from the Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County,

 Florida, to the United States District Court for the Southern District of Florida. In support of this

 Notice, Defendant states as its grounds for removal:

                                PROCEDURAL BACKGROUND

        1.      On May 23, 2022, Plaintiff Francesco Lefebvre d’Ovidio (“Plaintiff”) filed this

 action alleging violation of the Florida Uniform Fraudulent Transfer Act, unjust enrichment,

 conversion, and aiding and abetting conversion. Compl. ¶ 54-92. Plaintiff seeks a declaratory

 judgment, injunctive relief, and damages. Id.

        2.      Plaintiff’s Complaint (the “Complaint”), which is the initial pleading setting forth

 the claims for relief upon which this action is based, was filed in the Eleventh Judicial Circuit in
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 and for Miami-Dade County, Florida, where the matter was assigned Case No. 2022-009415-CA-

 01 (the “State Action”).

        3.      The Complaint has not been served on Defendant. However, on May 24, 2022,

 undersigned counsel became aware that the Complaint had been filed on the public docket of the

 Eleventh Judicial Circuit in and for Miami-Dade County, Florida. The Complaint was filed without

 a summons, and at the time of filing this notice, no summons has been filed or issued.

        4.      In accordance with 28 U.S.C. § 1446(a), a true and legible copy of the Complaint

 together with all documents filed in the State Action are attached hereto as Exhibit A. This

 constitutes all processes, pleadings, and orders served in the State Action.

        5.      A copy of the Notice being contemporaneously filed in the Eleventh Judicial Circuit

 in and for Miami-Dade County, Florida is attached hereto as Exhibit B.

                                  DIVERSITY OF CITIZENSHIP

        6.      This Court has jurisdiction over this removed action pursuant to 28 U.S.C. § 1441.

 Federal district courts have original jurisdiction over all civil actions in which there is diversity of

 citizenship and the matter in controversy exceeds the sum or value of $75,000, exclusive of interest

 and costs. See 28 U.S.C. § 1332(a). As discussed below, complete diversity of citizenship exists

 between Plaintiff and Defendant.

        7.      Plaintiff is a citizen of Italy, residing in Rome. Compl. ¶ 15.

        8.      Defendant is a corporation organized and existing under the laws of the Republic

 of Liberia, with its principle place of business in Miami, Florida. Compl. ¶ 16.

        9.       Accordingly, there is, and was at the time this action was filed, complete diversity

 of citizenship between Plaintiff and Defendant.




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                                   AMOUNT IN CONTROVERSY

         10.     The amount in controversy requirement for diversity jurisdiction is satisfied in this

 case because it is clear from the face of Plaintiff’s Complaint that “the matter in controversy

 exceeds the sum or value of $75,000, exclusive of interest and costs.” 28 U.S.C. § 1332(a).

         11.     In addition to other forms of relief, the Complaint seeks monetary damages of 800

 million Euros (more than $850 million dollars)—the alleged value of 52.12% of Silversea Cruise

 Holding, Ltd. that Plaintiff claims entitlement to—based on allegations of unjust enrichment and

 conversion. Compl. ¶ 41, 74-75, 81-82.

         12.     In the Complaint, Plaintiff alleges that the amount in controversy exceeds

 $750,000, exclusive of interest, costs, and attorneys’ fees. Compl. ¶ 17. Additionally, in its Civil

 Cover Sheet filed in the Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade

 County, Florida, Plaintiff stated that the “amount of claim” is “over $100,000.” Civil Cover Sheet,

 p. 1.

         13.     Accordingly, the amount in controversy exceeds $75,000, exclusive of interest and

 costs. See 28 U.S.C. § 1332(a).

           THE REQUIREMENTS OF §§ 1332, 1441, AND 1446 ARE SATISFIED

         14.     This Court has jurisdiction over this matter based on diversity of citizenship

 pursuant to 28 U.S.C. § 1332. Removal is permitted by 28 U.S.C. § 1441(a).

         15.     Removal is timely in accordance with 28 U.S.C. § 1446(b).

         16.     Pursuant to 28 U.S.C. § 1446(a), this Court is the proper venue for removal of this

 action because the Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County,

 Florida is located within this federal district.




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        17.     Pursuant to 28 U.S.C. § 1446(d), Defendant will provide written notice of the filing

 of this Notice of Removal to all adverse parties and will file a copy of this Notice of Removal with

 the Clerk of the Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County,

 Florida.

                                           CONCLUSION

        For all these reasons, Royal Caribbean Cruises, Ltd. hereby removes this action from the

 Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County, Florida to this Court.



 DATED: May 26, 2022                      Respectfully submitted,


                                          QUINN EMANUEL URQUHART & SULLIVAN LLP

                                     By     /s/ Olga M. Vieira
                                        Olga M. Vieira (Fla. Bar No. 29783)
                                        Samuel G. Williamson (Fla. Bar No. 1033817)
                                        Erica L. Perdomo (Fla. Bar No. 105466)
                                        2601 South Bayshore Drive, 15th Floor
                                        Miami, FL 33133
                                        olgavieira@quinnemanuel.com
                                        samwilliamson@quinnemanuel.com
                                        ericaperdomo@quinnemanuel.com
                                        (305) 496-2988

                                        Attorneys for Defendant Royal Caribbean Cruises, Ltd.




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                                 CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that a true and correct copy of the foregoing document was served

 via-email, on this 26th day of May, 2021, to:



 CARL GOLDFARB
 Fla. Bar No. 125891
 BOISE SCHILLER FLEXNER LLP
 401 E. Las Olas Blvd., Suite 1200
 Fort Lauderdale, FL 33301
 cgoldfarb@bsfllp.com
 Tel: (954) 356-0011
 Fax: (954) 356-0022

 DAVID BOIES
 MARC AYALA
 BOISE SCHILLER FLEXNER LLP
 333 Main Street
 Armonk, NY 10504
 Tel: (914) 749-8200

 Attorneys Plaintiff Francesco Lefebvre d’Ovidio


                                                     By: /s/ Olga M. Vieira
                                                     Olga M. Vieira
                                                     Fla. Bar No. 29783
                                                     olgavieira@quinnemanuel.com




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